                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

 JACK NUNLEY,

         Plaintiff,
                                                    Case No. 3:23-cv-00100
 v.
                                                    Judge Richardson
 DAVID B. RAUSCH,                                   Magistrate Judge Alistair E. Newbern

         Defendant.


                                              ORDER

        The judges of this Court agree that a final decision in Does #1–#8 v. William B. Lee, et al.,

Case No. 3:21-cv-00590, now pending before Judge Aleta A. Trauger, may inform the disposition

of this matter. Therefore, in the interest of judicial economy, this case is or shall remain

ADMINISTRATIVELY CLOSED pending final judgment in Does #1–#8.

        The Clerk of Court is DIRECTED to TERMINATE all pending motions without prejudice

to refiling upon reopening of the case.

        No later than 28 days after the entry of final judgment in Does #1–#8, including after

appeal, the parties shall file a joint status report notifying the Court of any resolution of this case

or, if this matter remains active, filing a joint proposed case management order addressing all

litigation deadlines and including a statement by each party of how the final judgment in Does #1–

#8 affects its position in this case.

        No party shall file any motion in this case before it is reopened except with leave of Court.

        It is SO ORDERED.

                                                       ____________________________________
                                                       ALISTAIR E. NEWBERN
                                                       United States Magistrate Judge




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